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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION



  SHARMAINE LEWIS,

                Plaintiff,
         V.                                           Case No. 21 -cv-00181 -RLY-MJ D


  NATIONAL BOARD OF OSTEOPATHIC,
  MEDICAL EXAMINERS, INC.,

                Defendant.



                         DECLARATION OF JED G. MAGEN. DO, MS


         I, Jed G. Magen, DO, MS, based upon my personal knowledge, declare:

         1.    I am an Associate Professor and Chair of the Department of Psychiatry at the

  Colleges of Human Medicine and Osteopathic Medicine, Michigan State University. A copy of

  my current Curriculum Vita is included with this Declaration.

         2.    I am also Chair of the Testing Accommodations Committee ("TAC") of the

  National Board of Osteopathic Medical Examiners, Inc. ("NBOME"), and have continuously

  served as Chair of TAC for many years to the present.

         3.    TAC includes dedicated DO physicians and others who regularly meet to consider

  and act upon applications of medical students and graduates ("candidates") who apply to

  NBOME for testing accommodations under the Americans with Disabilities Act ("ADA").

         4.    All applications for test accommodations are processed and reviewed by NBOME

  staff and TAC members are provided with access to all relevant documentation submitted by the

  candidate on a secure website for TAC members only. These applications and accompanying

  documentation are carefully considered by TAC and its members, including myself. NBOME or

  TAC will sometimes refer a candidate's application to an outside independent expert consultant
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  for a test accommodation review. Any information, report or recommendation by an outside

  independent expert provided to TAG is and will be considered by TAG but all decisions for test

  accommodations present to TAG are made solely by TAG.

         5.    In May 2017, as Ghair and member of TAG, I participated in the consideration of

  the application of Sharmaine Lewis for test accommodations for the GOMLEX-USA Level 1

  examination. After careful consideration of Ms. Lewis' application and the documentation she

  submitted with her applications, and consideration of the Test Accommodation Review report of

  Joseph Bernier, Ph.D., TAG unanimously denied her request for extended time accommodations.

         6.    In March 2019, as Ghair and member of TAG, I participated in the consideration of

  the application of Sharmaine Lewis for test accommodations for the GOMLEX-USA Level 2-GE

  examination. After careful consideration of Ms. Lewis' application and the documentation she

  submitted with her applications, and consideration of the Test Accommodation Review report of

  Dr. Bernier, TAG unanimously denied her request for extended time accommodations.

         7.    A copy of NBOME's Test Accommodations Policy No. 2618 is included with this

  Declaration and marked as NBOME 00007-00008.


         I declare under penalty of perjury that the foregoing is true and correct.

         Date: April 28, 2021.
                                                   Isl Jed G. Magen. DO. MS
                                                     Jed G. Magen, DO, MS
Case 1:21-cv-00181-RLY-MJD          Document 54-1         Filed 04/29/21    Page 3 of 26 PageID
                                          #: 732




                                JED GARY MAGEN. DO, MS


Work Address:               East Fee Hall
                            965 Wilson Road A222
                            East Lansing, Ml 48824
                            (517)353-4363

Birthdate:                  May 10, 1953

Birthplace:                 Des Moines, Iowa

Marital Status:             Married - Carol Ann Barrett


EDUCATION
1975                 B.A., Oakland University, Psychology, Rochester, Michigan

1975-1978            D.O., College of Osteopathic Medicine and Surgery, Des Moines, Iowa

1978-1979            Intern, Botsford General Hospital, General Rotating Internship,
                     Farmington Hills, Michigan

1982-1984            Resident, University of Michigan, Department of Psychiatry,
                     General Psychiatry, Ann Arbor, Michigan

1984-1986            Child Psychiatry Fellowship, University of Michigan, Department of
                     Psychiatry, Division of Child Psychiatry, Ann Arbor, Michigan

POST-GRADUATE TRAINING
1986-1988            Senior Research Fellow, Institute for Social Research, University of
                     Michigan, Ann Arbor, Michigan

2003                 Master of Science in Health Care Management, University of Texas at Dallas
                     School of Management

LICENSURE
Michigan, Osteopathic Medicine and Surgery, #007621,

CERTIFICATION
Diplomate, National Board of Examiners in Osteopathic Medicine and Surgery

Board-Certified - General Psychiatry, American Osteopathic Board of Psychiatry and Neurology,
1989
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                                                  #: 733
 Vitae: JedGaryMagcn, D.O.                                                                      2



Board-Certified - Child and Adolescent Psychiatry, American Osteopathic Board of Psychiatry and
Neurology, 1992

Board-Certified - General Psychiatry, American Board of Psychiatry and Neurology, 1990, ABPN
certificate no. 33265


Board-Certified - Child and Adolescent Psychiatry, American Board of Psychiatry and
Neurology, 1992, ABPN certificate no. 3037

ACADEMIC APPOINTMENTS
1986-1988                    Clinical Instructor, Adolescent Psychiatry Service, Pediatric Consultation-
                             Liaison Service, Child and Adolescent Outpatient Clinic, University of
                             Michigan, Ann Arbor, Michigan

1988-1995                    Assistant Professor, Fixed Term appointment. Department of Psychiatry,
                             Michigan State University, East Lansing, Michigan

1995-present                 Assistant Professor, Tenure Track Appointment, Department of Psychiatry,
                             Michigan State University, East Lansing, Michigan

1990-1995                    Clinical Assistant Professor of Health Behavioral Sciences School of
                             Health Sciences, Oakland University, Rochester, Michigan

2001                         Associate Professor with Tenure, Department of Psychiatry, Michigan State
                             University, East Lansing, Michigan

Associate                    Consortium for Multicultural Psychiatry Research, Department of
                             Psychology, Michigan State University

ACADEMIC LEADERSHIP APPOINTMENTS
1983-1984                    Chairman, Ad-Hoc Committee on Medical Records, University of Michigan,
                             Ann Arbor, Michigan

1984-1985                    Chief Resident, Child and Adolescent Psychiatry Service, University of
                             Michigan, Ann Arbor, Michigan

1984-1985                    Chairman's Advisory Council, University of Michigan, Ann Arbor, Michigan

1984-1985                    Child Psychiatry Outpatient Administration Committee, University of
                             Michigan, Ann Arbor, Michigan

1984-1986                    Resident Education Committee, University of Michigan, Ann Arbor,
                             Michigan




1985-1986                    Departmental Operating Committee, University of Michigan, Ann Arbor,
                             Michigan
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                                                   #: 734
 Vitae: Jed Gary Magen, D.O.




1985-1986                      Departmental Chief Resident, Department of Psychiatry, University of
                               Michigan, Ann Arbor, Michigan

1989-1993                      Director of Psychiatry Medical Student Education, Michigan Hospital and
                               Health Care Center, Detroit, Michigan

1991-2011                      Residency Education Director, Department of Psychiatry, Michigan State
                               University, East Lansing, Michigan

1992-1994                      Member, College of Osteopathic Medicine Dean's Advisory Committee,
                               Michigan State University, East Lansing, Michigan

1993-1995                      Chair, College of Osteopathic Medicine Admissions Committee, Michigan
                               State University, East Lansing, Michigan

1993-Present                   Member, College of Human Medicine Graduate Medical Education
                               Committee, Michigan State University, East Lansing, Michigan

1996-Present                   Member, Ambulatory Care Curriculum Advisory Board, College of
                               Osteopathic Medicine, Michigan State University, East Lansing, Michigan

1997-1998                      Director, Outpatient Operations, Department of Psychiatry, Michigan State
                               University, East Lansing, Michigan

1998                           Member, Ad Hoc College Budget Advisory Council

1999                           Psychiatry Department Representative, College of Osteopathic Medicine
                               Clinical Clerkship Oversight Committee

2000-2001                      Chair, College Advisory Council, College of Osteopathic Medicine,
                               Michigan State University, East Lansing, Michigan

2000-2002                      College Advisory Council, College of Osteopathic Medicine,
                               Michigan State University, East Lansing, Michigan

2000-Present                   College Informatics Committee, College of Osteopathic Medicine, Michigan
                               State University, East Lansing, Michigan.

2000                           Chair, Internal Review Committee Cardiology Residency, Graduate Medical
                               Education Committee, College of Human Medicine

2001                           Clinicians Council, MSU Health Team

2001                           Member, Internal Review Committee, Internal Medicine Residency, College
                               of Human Medicine
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                                                    #: 735
 Vitac: Jed Gary Magen, D.O.




2002                           Member, Ad Hoc Committee on Billing and Collecting, MSU Health Team

2003                           Chair, Billing and Collections Advisory Group, MSU Health Team

2003-2004                      Acting Chair, Department of Psychiatry, College of Human Medicine,
                               College of Osteopathic Medicine, Michigan State University

2003-2016                      Lead Program Director, Psychiatry, Michigan State University College of
                               Osteopathic Medicine State Wide Campus System Psychiatry Program
                               Assessment Committee


2004-Present                    Chair, Department of Psychiatry, College of Human Medicine, College of
                                Osteopathic Medicine, Michigan State University

2004                           Member, Michigan State University AHEC Advisory Board

2005                           Vice President, Upper Peninsula Health Education Corporation Board of
                               Directors


2010-2011                      President, Upper Peninsula Health Education Corporation Board of Directors

2013-2015                      Program Director, Detroit Wayne County Health Authority Psychiatry
                               Residency

STATE AND LOCAL LEADERSHIP POSITIONS
1991-1992                      President, Spartan Child Development Center, East Lansing, Mi

1996-1997                      Program Chair, Michigan Council on Child and Adolescent Psychiatry

1998-1999                      Parent Advisory Council, Ingham County Intermediate School District

1997-present                   Member, Advisory Board, Michigan OCD Foundation, 1997

2003-2004                      Steering Committee, Ethyl and James Flinn Family Foundation,
                               Action Plan Development for Implementing Evidence-Based Practicesfor the
                               Treatment ofMajor Depression, Schizophrenia, and Bipolar Disorder

2005                           Steering Committee, Ethyl and James Flinn Family Foundation,
                               Stage Two:
                               Action Plan Development for Implementing Evidence-Based Practicesfor the
                               Treatment ofMajor Depression, Schizophrenia, and Bipolar Disorder

2007-2008                      President, Michigan Psychiatric Society

2009-2014                      Board member, Michigan Disabilities Rights Coalition
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                                                   #: 736
 Vilae: Jed Gary Magen, D.O.




OTHER ACADEMIC AND COMMITTEE MEMBERSHIPS
1983-1984                      Quality Assurance Committee, University of Michigan, Ann Arbor, Michigan

1991 -1993                     Member, College of Osteopathic Medicine Curriculum Committee, Michigan
                               State University, East Lansing, Michigan

1992-2000                      Member, Clinical and Adjunct Faculty Review Committee, Department of
                               Psychiatry, Michigan State University, East Lansing, Michigan

1992-2001                      Member, Medical Student Education Committee, Department of Psychiatry,
                               Michigan State University, East Lansing, Michigan

1997                           Member, Olin Health Center Director Search Committee

1998-2002                      Member, College of Osteopathic Medicine By-Laws Committee, Michigan
                               State University, East Lansing, Michigan

1998                           Member, Department of Pediatrics Chair Search Committee, Michigan State
                               University, East Lansing, Michigan

1999-2002                      Member, Department of Psychiatry Faculty Search Committee, Michigan
                               State University, East Lansing, Michigan

2000                           Chair, Norbert Enzer Endowed Lectureship Committee, Department of
                               Psychiatry, Michigan State University, East Lansing, Michigan

2002                           Member, Educational Standards Committee, Statewide Campus System
                               College of Osteopathic Medicine, Michigan State University

2003                           Ad Hoc Committee on Student Mental Health, Michigan State University

2007-2009                      Member Admissions Committee, College of Osteopathic Medicine

2009-2010                      Chair, Admissions Committee, College of Osteopathic Medicine

2009                           Chair, Promotions and Tenure Committee, College of Osteopathic Medicine

2018                           MSU Health Care, Inc. Board of Directors

2019                           Vice-Chair, Board of Directors, Michigan State University College of
                               Osteopathic Medicine Governing Board

2020                           Radiology Chair Search Committee College of Osteoapathic Medicine and
                               College of Human Medicine

2020                           Chair, 5-Year Review Committee, Family Practice Chair, College of Human
                               Medicine
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                                                   #: 737
 Vilae: Jed Gaiy Magen, D.O.




NON-ACADEMIC APPOINMENTS
1979-1982                      General Medical Officer, United States Public Health Service, Commissioned
                               Officer Corps, Stockbridge Indian Health Center, Bowler, Wisconsin

1979-1982                      Administrator for Outpatient Health Care Delivery, Stockbridge Indian
                               Health Center, Bowler, Wisconsin

1985-1986                      Psychiatric Consultant, Maxey Boys Training School, Department of Social
                               Services, State of Michigan

1986-1988                      Psychiatric Consultant, Huron Residential Services, Inc., Ann Arbor,
                               Michigan

1997-2004                      Child and Adolescent Psychiatric Consultant, Gratiot County Community
                               Mental Health Center, Alma, Michigan

2019                           Member, State of Michigan Health Professions Recovery Committee

NATIONAL LEADERSHIP APPOINTMENTS
1988-1998                      Member, Part II Committee, Psychiatry, National Board of Examiners in
                               Osteopathic Medicine and Surgery

1989                           Member, Committee on the Physically 111 Child, American Academy of Child
                               and Adolescent Psychiatry

1993-1996                      Chair, Psychiatry Test Construction Committee, Part II, National Board of
                               Osteopathic Medical Examiners

1994-1997                      Board of Governors, American College of Neuropsychiatrists

1996-Present                   Program Site Reviewer, Accreditation Council for Graduate Medical
                               Education Residency Review Committee for Psychiatry

1996-1998                      Member, COMLEX Part II Exam Committee National Board of Osteopathic
                               Medicine Examiners


1996-1999                      Chair, Committee on Educational Evaluation, American College of
                               Neuropsychiatry (Reviews accreditation reports of Osteopathic psychiatry
                               residencies and recommends accreditation status)

1996-Present                   Program Site Reviewer, American Osteopathic Association

1996-1999                      Member, Council on Post-Doctoral Training, American Osteopathic
                               Association
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                                                   #: 738
 Vilae: Jed Gary Magen, D.O.




1996                           External Reviewer, Psychiatry Department, University of North Texas Health
                               Science Center, Fort Worth, Texas, July, 1996

1996                           Member, Ethics Committee, American College of Neuropsychiatrists

1996                           Program Chair, Michigan Council of Child and Adolescent Psychiatrists

1997-1998                      Vice President, American College of Neuropsychiatrists

1997-1999                      Chair, Work Group on Graduate Medical Education Financing, American
                               Association of Directors of Psychiatry Residency Training

1998-1999                      President Elect, American College of Neuropsychiatrists

1999                           Program Chair, American Osteopathic College of Neurologists and
                               Psychiatrists Mid-Year Meeting

1999                           Program Chair, American Osteopathic College of Neurologists and
                               Psychiatrists annual meeting, American Osteopathic Association Annual
                               Convention and Scientific Seminar


1998-2001                      Member, American Association of Directors of Psychiatry Residency
                               Training (AADPRT) Executive Council.

1998-2015                      Appointed representative of the American Association of Directors of
                               Psychiatry Residency Training Programs to Council of Academic Societies,
                               Association of American Medical Colleges

1998-1999                      Representative from the American Osteopathic Association to
                               the Advisory Committee, Public Health Foundation/Medical Schools
                               Collaboration-American Medical Association


1998-2000                      Chair, Ad-Hoc Committee on GME Financing, American Association of
                               Directors of Psychiatry Residency Training (AADPRT)

1999-2000                      President, American College of Osteopathic Neurologists and Psychiatrists

2001                           Media/Publication Editor, American Association of Directors of Psychiatry
                               Residency Training

2001                           Member, Informatics Committee, AADPRT

2004                           Member, American Osteopathic Board of Neurology and Psychiatry

2005                           Member, Financing Subcommittee, National Psychiatry Training Council
Case 1:21-cv-00181-RLY-MJD                    Document 54-1       Filed 04/29/21     Page 10 of 26 PageID
                                                    #: 739
 Vitae: Jed Gary Magen, D.O.




2009-present                    Chair, Test Accommodations Committee, National Board of Osteopathic
                                Medical Examiners


2010-present                   Executive Committee, American Association of Chairs of
                               Departments of Psychiatry

2011-2013                      Committee on Education Awards, American College of Psychiatrists

2011-2018                      National Faculty Chair, Neurology and Psychiatry, National Board of
                               Osteopathic Medical Examiners

2012                           Chair, Graduate Medical Education Task Force, American Association of
                               Directors of Psychiatry Residency Training Directors/American Psychiatric
                               Association/ Association of Directors of Medical Education in
                               Psychiatry/American Association of Chairs of Departments of Psychiatry

2013                           National Faculty Chair, Neurosciences, National Board of Osteopathic
                               Medical Examiners


2013                           Member, Committee on "Fast-Tracking PGY-4 Residents, American
                               Association of Directors of Psychiatry Residency Training Programs

2014                            Member, Board of Trustees Ad Hoc Workgroup on Education, American
                                Psychiatric Association

2014-present                    Board Member, National Board of Osteopathic Medical Examiners

2015-2021                       Member Residency Review Committee on Psychiatry
                                Accreditation Council for Graduate Medical Education


2015-2021                       Executive Committee Residency Review Committee on Psychiatry

2016                            Secretary-Treasurer, American Association of Chairs of Departments of
                                Psychiatry

2017                            Executive Committee, National Board of Osteopathic Medical Examiners

2018-2109                      President, American Association of Chairs of Departments of Psychiatry

2019                            Workforce Committee, American Association of Directors of Psychiatry
                                Residency Education

EDUCATIONAL RESPONSIBILITIES
1980-1982                       Preceptor for Physician Assistant Program, University of Wisconsin,
                                Madison. Wisconsin
Case 1:21-cv-00181-RLY-MJD                    Document 54-1       Filed 04/29/21      Page 11 of 26 PageID
                                                    #: 740
  Vitae: Jed Gary Magcn, D.O.




 1983                           Redesigned and reduced admission forms, treatment plan forms, and other
                                paperwork, University of Michigan, Ann Arbor, Michigan

 1984                           Organized Orientation Curriculum for incoming Child Psychiatry Fellows,
                                University of Michigan, Ann Arbor, Michigan

 1985-1986                      Taught seminar for first-year psychiatry residents, University of Michigan,
                                Ann Arbor, Michigan

 1985-1986                      Taught occasional seminars for medical students rotating on Psychiatry
                                Service, University of Michigan, Ann Arbor, Michigan

 1985-1986                      Co-Chair, Departmental Grand Rounds, University of Michigan, Ann Arbor,
                                Michigan

 1986                           Resident Selection Committee, University of Michigan, Ann Arbor,
                                Michigan

 1989, 1998                     Preceptor, Problem Focused Small Group, College of Human Medicine,
                                Michigan State University, East Lansing, Michigan

 1992-2004                      Coordinator, College of Osteopathic Medicine Year II Psychopathology
                                Course


 1993-2014                      Leader, Current Case Conference, Ambulatory Care Curriculum, College of
                                Osteopathic Medicine, Michigan State University, East Lansing, Michigan

MEMBERSHIPS
American Osteopathic Association
Michigan Osteopathic Association
Michigan Psychiatric Society
American Psychiatric Association
American College of Osteopathic Neurologists and Psychiatrists
American Association of Directors of Psychiatric Residency Training Programs
Association of American Medical Colleges
American College of Psychiatrists
American Association of Chairs of Departments of Psychiatry

HONORS
 1984-1985                      Chief Resident, Child and Adolescent Psychiatry Service, University of
                                Michigan, Ann Arbor, Michigan

 1985-1986                      Departmental Chief Resident, University of Michigan, Ann Arbor, Michigan

 1996                           American Psychiatric Association/Abbott Laboratories Award for Excellence
                                in Psychiatric Education
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                                                      #: 741
  Vilac: Jed Gary Magen, D.O.                                                                     10




 1997                           Fellow, American College of Osteopathic Neurologists and Psychiatrists

2009                            Elected member, American College of Psychiatrists

2014                            Distinguished Fellow, American Psychiatric Association

2015                            Fellow, American College of Psychiatrists

 2015                           Distinguished Fellow, American College of Osteopathic Neurologists and
                                Psychiatrists

 THESIS COMMITTEES
 Kathy Bamett                      Effects of stimulant medication on the time perception of children with
                                   ADHD


 Jessica Osbom                     The Wonder Years Parent Training Program: Randomized Evaluation of
                                   Effectiveness


 Julia Ogg                         Effect of Teacher Training on ADHD classroom behavior and Academic
                                   Performance June 3, 2008

 Paul Quinlan                      The Effect of Monthly vs Daily Web-Based Reporting on Severity of
                                   Mood Disorder Symptoms in College Students

 Kayla Musielak                    Effects of Caregiver Training Program on Sustained Attention in Ugandan
                                   Preschool-aged Children with HIV

 Steve Watson                      A Randomized Observational Trial of Risperidone in Children with
                                   Aggressive Behavior

 Hanna Fish                        Current Treatment of Autism Spectrum Disorders within a Medicaid-
                                   Enrolled Pediatric Sample: Prevalence and Predictors of
                                   Psychopharmacological Treatments

 Gabriel Watson                    Examining Predictors of Initial Treatment Recommendations for Youth
                                   Conduct Problems: A Retrospective Analysis of Psychiatric Outpatient
                                   Medical Records from a University-Based Clinic

 Dylan Voris                       Wraparound Psychotropics: An Exploration of Psychotropic Treatment
                                   Practices of Vulnerable Youth Within Wraparound Service Delivery

PUBLICATIONS
Araneta, E., Magen, J., Musci, M., Vann, C., & Singer, P. (1978). Tourettes syndrome, symptom
onset at age 33. International Journal of Social Psvchiatrv, 25(1).

Alessi, N., & Magen, J. (1988). Comorbidity of other psychiatric disturbances in depressed,
psychiatrically hospitalized children. American Journal of Psvchiatrv. 145(12). 1582-1584.
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                                          #: 742
 Vitae: Jed Gary Magcn, D.O.




Alessi, N., & Magen, J. (1988). Panic disorder in psychiatrically hospitalized children. American
Journal of Psychiatry. HSClll, 1450-1452.


Magen, J. (1990). Psychiatric aspects of chronic diseases in adolescence. Journal of the American
Osteopathic Association. 90(6). 521-525.


Magen, J. (1992) Training Osteopathic Medical Students in Behavioral Medicine and Psychiatry.
Journal of the American Osteopathic Association. 92(5), 648-653.

Magen, J. (1992) Clonazepam as a specific treatment for atypical psychotic states. Journal of the
American College of Neuropsvchiatrists.

Magen, J. (1994) Psychiatric Residencies in Osteopathic Medicine. Journal of the American
College of Neuropsvchiatrists. 8(1), 6-9.

Magen, J. & Banazak, D., (1995) Graduate Medical Education Financing in Psychiatry. Academic
Psvchiatrv. 19(1), 6-11.

Magen, J., & D'Mello, D. (1995) Acute Lymphocytic Leukemia and Psychosis: Treatment with
Electroconvulsive Therapy. Annals of Clinical Psvchiatrv. 7, (3), 133-137.

Magen, J. Depression and Anxiety in Children and Adolescents. Journal of the American
Osteopathic Association. Anxiety and Depression supplement, November 1995.

Magen, J., & Banazak, D. (1998) A Survey of State Financing of Psychiatry Residency Programs.
Academic Psvchiatrv. 22(3). 155-161.


Magen, J., & Banazak, D. (2000) The Cost of Training in Psychiatry Residency Programs.
Academic Psvchiatrv. 24(4), 195-201.

Miller, N., Sheppard, L., Colenda, C., Magen, J., Why Physicians Are Unprepared to Treat Patients
Who have Alcohol- and Drug-related Disorders. Academic Medicine. 76(5), 8-16, May, 2001.

Magen, J., Current Threats to Osteopathic Graduate Medical Education JAOA. March, 2001.

Miller, N., Sheppard, M., Magen, J. Barriers to Improving Education and Training in Addiction
Medicine. Psvchiatric Annals 31:11 November 2001


Carlson, J. S., Kruer, J. L., Ogg, J. A., Mathiason, J. B., & Magen, J. Methylphenidate,
atomoxetine, and caffeine: A primer for school psychologists. Journal of Applied School
Psvchologv.


Magen, J. Ley, A. Supporting voluntary psychiatry faculty members in departments of psychiatry
(Invited Paper, Academic Psychiatry. Mar 2011; 35 (2); 110-113)
Case 1:21-cv-00181-RLY-MJD         Document 54-1        Filed 04/29/21     Page 14 of 26 PageID
                                         #: 743
 Vitae: Jed Gary Magen, D.O.                                                               12




Magen, J. Richards, M. Funding the educational mission: challenges to departments of psychiatry
(Invited Paper, Academic Psychiatry. Mar 2011; 35 (2); 106-109.)

Boivin, M.J., Gladstone, M.J., Vokhiwa, M., Birbeck, G.L., Magen, J.G., Page, C., Semrud-
Clikeman, M., Kauye, P., & Taylor, T.E. (2011). Developmental outcomes in Malawian children
with retinopathy-confirmed cerebral malaria. Tropical Medicine & International Health.
Mar;16(3):263-271.2010


Magen, R, and Magen J. Revisiting Aunt Fanny: Evaluating professional writing.
Social Work Education, 29: 7, 792-809

Magen J, Richards M, Ley A. A proposal for the next generation psychiatry residency: Responding
to challenges of the future. Academic Psychiatry 37:6, 275-379 Nov-Dec 2013

Boivin, M. Vokhiwa, M. Sikorskii, A. Magen J. Beare, N. Cerebral malaria predictors of persisting
neurocognitive outcomes in Malawian children. Pediatr Infect Dis J (in press)

Magen, J. Rapoport, M. Funding Departments of Psychiatry in Times of Scarcity or What's a
Chairman to Do. Academic Psychiatry Academic Psychiatry, 40(6), 869-873


Boivin, M. Vokhiwa, M. Magen, J. The correspondence validity of Malawian preschool
developmental assessment and school-age neurocognitive performance in the longitudinal
assessment of severe malaria. The Lancet Volume 381, Page S18,17 June 2013

Boivin Mil, Vokhiwa M, Sikorskii A, Magen JG, Beare NA. Cerebral Malaria Retinopathy
Predictors of Persisting Neurocognitive Outcomes in Malawian Children. Pediatr Infect Dis J. 2014
Apr 22.

Psychiatry Departments Under Constrained Funding Mechanisms, or What is a Chair to Do?
Academic Psychiatry, August 2015

The Joy Initiative, Positive Psychology for Medical Students. Rose, M, Ley, A, Magen, J.
Submitted JAGA, Feb 2016

An Examination of Fluoxetine for the Treatment of Selective Mutism Using a Nonconcurrent
Multiple-Baseline Single-Case Design Barterian, JA, Sanchez, JM, Magen, JG, Siroky, AK
Mash, BL, Carlson, JS. J Psychiatr Pract. 2018 Jan;24(l):2-14. doi:
10.1097/PRA.0000000000000284


Examining predictors of initial outpatient psychiatric treatment for conduct problems in youth: A
records review. Watson, GC, Carlson, JS, Magen, JG. Perspect Psychiatr Care. 2018 Apr;54(2):168-
175. doi: 10.1111/ppc.l2218. Epub2017 Apr4
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                                          #: 744
  Vitao: JedGaryMagcn, D.O.                                                              '3




Early and middle childhood developmental, cognitive, and psychiatric assessments in Malawian
children affected by retinopathy positive cerebral malaria. Boivin, M, Mohanty, A, Sikorskii, A,
Vokhiwa, M, Magen, Je, Gladstone, M. Child Neuropsychol. 2018 Mar 23:1-22. doi:
 10.1080/09297049.2018.1451497


ABSTRACTS
D'Mello, D., Magen, J., Gannon, T., Cost Efficiency of a Psychiatric Teaching Service. Annals of
Clinical Psychiatry, 13(1), 61.

Hunter-Oehmke, S., Carlson, J. S., & Magen, J. (2002). Doing what we are taught? A survey of
child psychiatrists' knowledge and training in psychotherapy. Presented at the annual convention of
the National Association of School Psychologists, Chicago, IE.

Carlson, J. S., Kruer, J. L., Ogg, J. A, Mathiason, J. B. & Magen, J. (2004) Caffeine, atomoxetine
and methylphenidate: A primer for psychologists. Presented at the annual meeting of the American
Psychological Association, Honolulu Hawaii

Richards, M., Magen, J., Documentation of program evaluation and written program improvement:
how to stay ahead of the game. American Association of Directors of Psychiatry Training, March
2010, Orlando FL

Magen, J. Kauye, P. Volkowa, M. Semrud-CIikman, M. Taylor, T. & Boivin, M. Evaluating the
achbenach child behavior checklist (CBCL) as a screening tool for DSM-IV diagnoses in Malawian
children. First annual Department of Psychiatry and Behavioral Science Research Conference,
University of Malawi School of Medicine, Blantyre, Malawi, February 2011

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correspondence validity of preschool developmental assessments and school-age neurocognitive
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Co-1


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Co-I


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Revised 0/2021
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                              ME
   Policy Title: Test Accommodations
   Executive Responsibility: Vice President, Administration/COO
   Policy No.: 2618
   Original Date: 6/27/2015                               Policy Owner(s):
   Effective Date: 12/12/2020                                 1. General Counsel
   Next Review Date: 12/11/2021                              2. Manager, Testing Accommodations
   Policy Scope: ORG                                         3. Select Policy Owner
   Policy Approval: GOV


   Policy
   The Test Accommodations Committee of NBOME (TAC), In conjunction with NBOME staff, Is charged with
   the responsibility to review and act upon requests of COMLEX-USA examinees (candidates) for special
   accommodations pursuant to Title III of the Americans with Disabilities Act of 1990, as amended (ADA).
   TAC also has the responsibility to establish, review and periodically update as needed procedures and forms
   for processing candidate applications for test accommodations under the ADA. TAC members and the Chair
   are appointed by the President.

   ADA requires the NBOME to offer Its examinations "In a place and manner accessible to persons with
   disabilities or offer alternative accessible for such Individuals." 42 U.S.C. §12189.

   Under the ADA "persons with disabilities" are Individuals with a physical or mental impairment that
   substantially limits one or more of the major life activities of such individual. The term "major life activity" Is
   broadly construed. Whether or not an Individual's impairment "substantially limits" his or her major life
   activity Is "as compared to most people In the general population," not as compared to his or her medical
   school peers or the candidate's own intellectual potential. ADA accommodations are Intended only for the
   examination to be made available to a person with disabilities, in a place and manner that is accessibleio a
   disabled candidate, and thereby to ensure that the result of the examination will accurately reflect the
   candidate's knowledge and competency to practice osteopathic medicine, as Is Intended by the examination.

   A candidate who is a "person with disabilities" as defined by the ADA,    whose Impairment "substantially
   limits" his or her accessXo a COMLEX-USA examination, as compared to most people in the general population,
   may request from the NBOME a "reasonable accommodation" for that examination. TAC will review and act
   upon each candidate's request for accommodation in accordance with the procedures established by TAC.

   COMLEX-USA examinations include assessment of the candidate's "knowledge fluency," I.e., his or her ability
   to recall. Interpret, process, and apply clinical knowledge and skills without hesitation and in a fluid manner,
   a competency which is fundamental to a generalist osteopathic physician's competence to practice
   osteopathic medicine. Therefore, any extended testing time accommodation for the COMLEX-USA Level 1,
  Level 2-CE and Level 3 computer-based examinations must be or7//that additional time, if any, that Is
  necessary for the examination to be offered by NBOME in a place and manner accessible to the candidate.
  Any extended testing time that Is not needed for the examination to be accessible to the candidate would
  fundamentally alter NBOME's assessment of the candidate's "knowledge fluency," a competency that is
  fundamental to the generallst's practice of osteopathic medicine, and the results of the examination would
        accurately reflect a competency that the COMLEX-USA examination Is Intended to assess.

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    The patient encounter portion of the COMLEX-USA Level 2-PEexamination also assesses the candidate's
    competency to personaiiy perform dinicai skiils "as appropriate in a timely, efficient, safe, and effective
    manner."TAG may. In an appropriate case, approve an accommodation for a candidate who is a "person
    with disabilities" under the ADA. However, TAG cannot approve additional time to complete the 14-minute
    patient encounters portion of GOMLEX-USA Level 2-PE examination, as any additional time for patient
    encounters would fundamentally alter what is being assessed as stated above.

    TAG should give considerable weight to prior accommodations approved by testing organizations which
    administer 5//77//a/'standardized tests (e.g., MGAT), however being mindful that another standardized tests
    may not measure "knowledge fluency," or the timeliness of the candidate's clinical skiils In patient
    encounters, which are assessed by the GOMLEX-USA series of examinations, and therefore an
    accommodation approved for some other examination may not be appropriate for GOMLEX-USA.

   When a candidate's disability is properly supported by a qualified professional in the field of the candidate's
   reported Impairment or disability, who correctlyevaluated the candidate's impairment(s) and substantial
   limitations In real-world settings, TAG should give considerable weight to that professional's evaluation.
   However, the issue of what accommodation, if any, should or could be provided for the candidate, or the
   impact of an accommodation upon the measurement of the skills being assessed by the GOMLEX-USA
   examination, is not necessarily within the qualifications or expertise of the candidate's evaluator or advisor.

   TAG is not required, but may also solicit the opinion of one or more Independent outside consultants qualified
   in the field of the candidate's reported impairment or disability, to review and report to TAG on the adequacy
   of the candidate's documentation to support his or her claim of disability under ADA, and need, if any, for an
   accommodation in order for the NBOME to offer the GOMLEX-USA examination to the candidate in a place
   and manner accessible to the candidate as required by the ADA. TAG will give appropriate weight to the
   opinlon(s) or recommendations by any independent outside consultant engaged by TAG.

   Responsibility
   The Test Accommodations Gommittee, with facilitation by the Vice President, Adminlstration/GOO, General
   Counsel, and Manager, Testing Accommodations, will be responsible for implementing and recommending
   to the Board updates to the policy.

   Related Forms/Poncies/Checkllsts/Procedures

   References
   Americans with Disabilities Act of 199Q
   ADA Amendments Act of 20Q8


   Keywords
   Application, accommodation, review

   Review Cycle
   Annual


   Revision History
   10/20/2020; 12/14/19; 11/13/2018; 12/09/17; 12/09/2016; 06/27/2015

  Approved Date
  12/12/2020; 12/14/19; 12/07/2018; 12/09/17; 12/09/2016; 06/27/2015

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